        Case 1:19-cv-02184-TJK          Document 71       Filed 07/15/25      Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

                       Plaintiff,

         v.                                             Case No. 1:19-cv-02184-TJK

FACEBOOK, INC.,
a corporation,

                       Defendant.


                                    NOTICE OF RELATED CASE

       Pursuant to Local Civil Rule 40.5(b)(3), Defendant Meta Platforms, Inc. (“Meta”)—

previously, Facebook, Inc.—hereby notifies this Court of a related case in this District: Meta

Platforms, Inc. v. FTC, No. 1:23-cv-03562 (D.D.C.) (“Meta”), which is currently pending before

United States District Judge Randolph D. Moss.

       Rule 40.5(b)(3) provides that “cases are deemed related when the earliest is still pending

on the merits in the District Court” and where the cases “grow out of the same event or transaction”

and “involve common issues of fact.” Both cases involve “common issues of fact” and “grow out

of the same event or transaction”—namely, the Federal Trade Commission’s administrative

reopening proceeding Meta, In the Matter of Facebook, Inc., File No. C-4365 (FTC May 3, 2023).

       Meta was filed after this Court had already denied Meta’s Motion to Enforce for lack of

jurisdiction. (Dkt. 61.) On May 16, 2025, the D.C. Circuit reversed, explaining that because “the

district court’s dismissal on jurisdictional grounds meant that it never reached the merits, we

reverse and remand so that it may consider Facebook’s claims in the first instance.” United States

v. Facebook, Inc., 136 F.4th 1129, 1135 (D.C. Cir. 2025). The mandate issued on July 10, 2025.

(Dkt. 70.)
        Case 1:19-cv-02184-TJK         Document 71        Filed 07/15/25    Page 2 of 2




       As required by Rule 40.5(b)(3), Meta provides this notice because this action, the earlier

of the cases, is now “pending on the merits.” However, Meta notes that on June 29, 2025, Judge

Moss stayed Meta in light of Facebook “pending further order of this Court,” see Minute Order,

Meta Platforms, Inc. v. FTC, 1:23-cv-03562-RDM (D.D.C. June 29, 2025), to the extent that bears

on whether the process set forth in Rule 40.5(c) should be deferred.



 DATED: July 15, 2025                        Respectfully submitted,

                                             /s/ James P. Rouhandeh

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